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               IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT


SUSQUEHANNA NUCLEAR, LLC,


                        Petitioner,

   v.                                             Nos. 25-60019 & 25-60264

FEDERAL ENERGY
REGULATORY COMMISSION,

                      Respondent.



        UNOPPOSED MOTION TO CONSOLIDATE RELATED CASES
          AND ESTABLISH BRIEFING FORMAT AND SCHEDULE

        Pursuant to Federal Rule of Appellate Procedure 27(b), Circuit Rule 27.1.9,

and this Court’s Order of May 5, 2025 (Dkt. 42-2), Petitioner Susquehanna Nuclear,

LLC moves (a) to consolidate cases 25-60019 and 25-60264, which seek review of

the same series of orders of the Federal Energy Regulatory Commission; and (b) to

establish a schedule and format for the merits briefing in the consolidated cases. The

other parties—including Respondent the Federal Energy Regulatory Commission

(“Commission” or “FERC”), Petitioner-Intervenors Vistra Corporation and PPL

Electric Utilities Corporation, and Respondent-Intervenors Exelon Corporation and

American Electric Power Service Corporation—consent to consolidation and the




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briefing proposal presented in this motion. In support of this motion, Susquehanna

states as follows:

I.      Procedural Background

        1.    This proceeding involves two petitions for review challenging a series

of orders in which the Commission rejected certain amendments to an

interconnection service agreement for a nuclear generating facility in Pennsylvania

that is owned by Susquehanna. In particular, case 25-60019, which Susquehanna

filed in this Court on January 15, 2025, challenges the following two orders of the

Commission:

     • Order Rejecting Amendments to Interconnection Service Agreement, PJM

        Interconnection, L.L.C., FERC Docket Nos. ER24-2172-000 & ER24-2172-

        001, 189 FERC ¶ 61,078 (Nov. 1, 2024) (“Rejection Order”); and

     • Notice of Denial of Rehearing by Operation of Law and Providing for Further

        Consideration, PJM Interconnection, L.L.C., Docket No. ER24-2172-002,

        189 FERC ¶ 62,132 (Dec. 23, 2024).

        2.    To date, four parties have noticed interventions in case 26-60019. On

February 21, 2025, the Commission filed an opposed motion asking the Court to

hold case 25-60019 in abeyance pending conclusion of the Commission’s

administrative rehearing process. The Court granted the Commission’s motion.

        3.    On April 10, 2025, the Commission issued the following order:



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      • Order Addressing Arguments on Rehearing and Granting Clarification, In

        Part, PJM Interconnection, L.L.C., Docket No. ER24-2172-002, 191 FERC

        61,025 (Apr. 10, 2025) (“April 10 Order”).

        4.    On May 1, 2025, the Commission filed a motion notifying the Court

regarding its issuance of the April 10 Order, and requesting that the Court set a

deadline of May 16, 2025 for filing the administrative record, and a “deadline for

the parties to file a briefing proposal of May 19, 2025.” Dkt. 35 at 2. On May 5,

2025, this Court entered an order granting that motion. Dkt. 42-2.

        5.    On May 12, 2025, Petitioner filed a second petition for review, which

this Court docketed as case 25-60264. That petition challenges the two orders

challenged in case 25-60019, as well as the Commission’s April 10 Order.

        6.    The Commission filed the certified index to the record on May 14, 2025

in case 25-60019. Dkt. 44.

II.     Argument

        A.    The Two Petitions Should Be Consolidated

        7.    Consolidation is warranted because this Court’s cases 25-60019 and

25-60264 seek review of an overlapping series of FERC orders in which the

Commission took action on a single application regarding proposed amendments to

an interconnection service agreement. This Court’s Rule 15.3.2 provides that “[a]ll

petitions for review and other documents concerning commission orders in the same



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number series . . . are assigned to the same docket.” Fifth Cir. R. 15.3.2. Similarly,

here the two petitions seek review of a series of orders that the Commission issued

in a single administrative docket, ER24-2172. The orders are closely related. In the

April 10 Order, the Commission addressed arguments raised by Susquehanna in a

request for administrative rehearing, “modif[ied] the discussion in the [November 1,

2024] Rejection Order,” while “continu[ing] to reach the same result in this

proceeding.” April 10 Order P 2.

         8.    Consolidation of cases 25-60019 and 25-60264 will conserve resources

of the parties and the Court and allow for efficient briefing of challenges to a single

set of Commission orders.

         9.    The parties agree that the Certified Index to the Record that the

Commission filed in case 25-60019 also constitutes the index to the record for case

25-60264.

         10.   As noted above, all parties consent to the consolidation of these two

cases.

         B.    The Court Should Enter the Following Format and Schedule for
               Briefing of the Consolidated Cases

         11.   Pursuant to this Court’s May 5 Order, the parties have consulted and

now jointly propose the following format and schedule to govern merits briefing in

the two consolidated cases:




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                     Brief                      Briefing Interval          Length
                                                                           (words)

 1      Petitioner Opening Brief            60 days from date of       13,000
                                            the Court’s order
                                            setting briefing
                                            schedule and format

 2      Petitioner-Intervenors’             14 days from Petitioner    Not to exceed
        Opening Brief(s)                    Opening Brief              9,100 in
                                                                       aggregate; to
                                                                       be divided as
                                                                       Intervenors see
                                                                       fit

 3      FERC Answering Brief                60 days from Petitioner    13,000
                                            Opening Brief

 4      Respondent-Intervenors’             14 days from FERC          Not to exceed
        Answering Brief(s)                  Answering Brief            9,100 in
                                                                       aggregate; to
                                                                       be divided as
                                                                       Intervenors see
                                                                       fit

 5      Petitioner Reply Brief              28 days from               8,500
                                            Respondent-Intervenor
                                            Brief(s)

 6      Rule 30.2 Appendix                  7 days from Petitioner
                                            Reply




      12.    Given the existence of two petitions for review and four separately

represented intervenors (two supporting Petitioner and two supporting Respondent),

these cases present a risk of duplicative and voluminous briefing, if each party were


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to file a separate full-length appellate brief. The agreed-upon proposed briefing

format and schedule reflects the parties’ efforts to streamline the briefing process

and avoid duplicative or excessive briefing by reducing the aggregate length of briefs

that might otherwise be filed.

      13.    The proposed word limits for Petitioner’s and FERC’s principal briefs

conform to the default limits in Federal Rule of Appellate Procedure 32(a)(7).

Susquehanna proposes a modest expansion of words for its reply brief, from the

default limit of 6,500 words to 8,500 words, in recognition that its reply brief will

need to respond to up to 22,100 words of responsive briefing (13,000 by Respondent

and 9,100 by Respondent-Intervenors).

      14.    The parties also negotiated and agreed upon the proposed briefing

intervals, which reflect slight modifications to the default time periods set forth in

Federal Rule of Appellate Procedure 31(a) and Fifth Circuit Rule 31.2. Good cause

exists for these extended briefing deadlines given the technical nature of this appeal,

which involves a sizeable administrative record comprising three agency orders, a

request for administrative rehearing, and several rounds of administrative pleadings

concerning a complex regulatory subject matter. The 14-day period for intervenor

briefs will facilitate coordination between separately represented parties and help

reduce duplication of arguments.       For its part, because the Commission has

numerous cases before this and other Circuits at any given time, the requested 60-



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day briefing interval for Respondent’s brief would facilitate efficient coordination

of the Commission’s case load and lessen the possibility of the Commission needing

to seek an extension after a briefing schedule has been established.

       15.   Susquehanna proposes to file a copy of the portions of the record relied

upon by the parties, as required under Fifth Circuit Rule 30.2(a), within 7 days after

filing its reply brief. Susquehanna respectfully submits that filing this appendix after

submission of the reply brief will facilitate efficient inclusion, in the appendix, of all

pertinent material cited in the briefs.

III.   Conclusion

       For the foregoing reasons, Petitioner Susquehanna requests that the Court

consolidate cases 25-60019 and 25-60264 and enter an order approving the jointly

proposed format and schedule for merits briefing in the consolidated cases.




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Date: May 19, 2025                    Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing motion complies with the requirements of

Fed. R. App. P. 27(d)(2)(A) and Fifth Circuit Rule 27.4 because it contains 1,208

words.



    May 19, 2025                         /s/ Jeremy C. Marwell

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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 19, 2025, I electronically filed the foregoing

motion with the Clerk of the Court for the U.S. Court of Appeals for the Fifth Circuit

by using the appellate CM/ECF system, and served copies of the foregoing via the

Court’s CM/ECF system on all ECF-registered counsel.


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